            Case 19-10961-JNP                         Doc 2            Filed 01/16/19 Entered 01/16/19 11:33:49                     Desc Main
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                                                               United States Bankruptcy Court
                                                                          District of New Jersey
 In re      W.L. Goodfellow's and Co., Inc.                                                                         Case No.   19-10961
                                                                                    Debtor(s)                       Chapter    11



                                                                     Resolution of Board of Directors
                                                                                    of
                                                                       W.L. Goodfellows and Co., Inc.




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 11 of Title 11 of the United States Code;

        Be It Therefore Resolved, that John Cicarelli, Managing Member of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 11 voluntary
bankruptcy case on behalf of the corporation; and

         Be It Further Resolved, that John Cicarelli, Managing Member of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that John Cicarelli, Managing Member of this Corporation is authorized and
directed to employ E.Richard Dressel ED1793, attorney and the law firm of Flaster Greenberg PC - Cherry Hill to
represent the corporation in such bankruptcy case.

 Date 1/16/19                                                                     Signed        /s/John Cicarelli



 Date                                                                             Signed




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